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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.

     LOCKSLEY R. JOHNSON,

                          Plaintiff,

     v.


     DEPARTMENT OF HIGHWAY SAFETY &
     MOTOR VEHICLE/FLORIDA HIGHWAY
     PATROL,

                          Defendant.
                                               /

                                          COMPLAINT

                                       NATURE	OF	ACTION	

            Plaintiff, LOCKSLEY R. JOHNSON (hereinafter referred to as “Plaintiff”

     or “Mr. Johnson”), by and through his undersigned attorney, sue Defendant

     Department of Highway Safety & Motor Vehicle/Florida Highway Patrol

     (hereinafter referred to as “Defendant” or “FHP”) for

     damages in excess of $ 75, 000 for violations of his civil rights occurring during

     his employment relationship with Defendant. Plaintiff sues Defendant under

     Title VII of the Civil Rights Act of 1964 and 1991, as amended, 42 U.S.C. Section

     2000e et seq. (“Title VII”), the Civil Rights Act of 1871, as amended, and the

     Florida Civil Rights Act of 1992, Section 760.01 et seq., Florida Statutes

     (“FCRA”). the Civil Rights Act of 1871, as amended, 42 U.S.C. Section 1981

     (“Section 1981”).
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                                 JURISDICTION	AND	VENUE	

             1.      This Court’s jurisdiction is invoked pursuant to 28 U.S.C. Sections

     451, 1331, 1337 and 1343. This action arises under 42 U.S.C. Sections 2000e et

     seq. This action arises under 42 U.S.C. Sections 1981 and 1981a.

            2.    This Court has supplemental jurisdiction over Plaintiff

     state law claims pursuant to 28 U.S.C. Section 1367.

            3.     Plaintiff has exhausted his administrative remedies.

     Plaintiff filed two charges of discrimination with the United States Equal

     Employment Opportunity Commission (“EEOC”) based upon Retaliation, Race

     and National Origin. Plaintiff initiated this action within ninety (90) days of

     receipt of the U.S. Department of Justice Civil Rights Division Notice of Right to

     Sue on filed charges. All conditions precedent to institution of this action by

     Plaintiff has been fulfilled under Florida Statutes Notice of Claim To

     Governmental Entity under Section 768.28.

            4.    Pursuant to 28 U.S.C. Section 1391, venue of this action is proper in

     the Southern District of Florida.


                                           PARTIES

            5. The causes of actions contained in this complaint accrued in

     Dade County, Florida, within the purview of the Southern District of

     Florida.

            6.    Defendant is duly organized under the Division of Highway Patrol

     0f the Department of Highway Safety & Motor Vehicles and exists under the laws
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     of the State of Florida, which can be sued under Fla. Stat. 768.28.

            7. The violations described in the complaint resulted from the policies,

            customs, patterns, and practices of named government agencies and

            employees


                                  FACTUAL	ALLEGATIONS		


            8.    At all times material hereto, Plaintiff was employed by

            Defendant.

            7.    Plaintiff national origin is Jamaican. The Plaintiffs race

     is Black.

            8.    Plaintiff was promoted from Sergeant to Lieutenant on July 22,

     2016. On or about July 21, 2017, the Plaintiff was demoted on the last day of

     Plaintiff’s probation, from Lieutenant to Sergeant. The Plaintiff was given

     unfounded factual basis from his Supervisors that there was fraud, waste, and/or

     abuse was occurring. The claims revolved around false accusations against the

     Plaintiff whereby it was concluded that the Plaintiff claimed hours worked on

     hireback, when Plaintiff was not inside hireback zone. The Plaintiff refused to

     sign the demotion, however threats were made on termination if not signed.

            9.    An investigation was initiated by the Plaintiff and conclusions of the

     FHP were they were unfounded allegations against the Plaintiff.

            10.   The FHP as retaliatory action took action by implementing

     an audit of the Krome Avenue hireback detail on July 24, 2017. This quarterly

     audit was going to be on a monthly/quarterly basis. That the targeting of
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     Plaintiff’s brother, Trooper Leon Johnson was done on July 25, 2017, which he

     has filed his own EEOC charge. FHP targeted as a result of race.

            11. The decision to demote the Plaintiff was made by Supervisor

     Lt. Colonel Michael Thomas (hereinafter “Lt. Col Thomas”). Lt. Col Thomas

     Made his decisions based upon a pretext of racial discrimination towards

     Blacks and targeted Plaintiff because of his race and national origin. This

     was supported by evidence of Lt. Col. Thomas Facebook whereby he

     daunts a monkey mask (see attached exhibit), and this is within

     line of his views as evidence by other Facebook entries of his

     view on Mexicans.

            12. This discriminatory pretext of Lt. Col. Thomas ‘s views as evidence

     on his Facebook, led to the demotion of Plaintiff which was solely based upon

     his race and national origin.

            13.     The Plaintiff is responsible for reasonable attorney fees.


                                               COUNT I

                     DEFENDANTS HAVE VIOLATED TITLE VII
                            (Disparate Treatment)

            14.    Plaintiff adopts and realleges paragraphs 1-13 above as if

     incorporated herein.

            15.    Plaintiff is a member of a protected class because of his

     national origin and race.

            16.    The Defendant is an employer that employs over 50 people, and is

            subject to 42 U.S.C. Section 2000e et seq.

            17.   Defendant treated Plaintiff with disparate treatment in the terms
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     and conditions of his employment.

            18.    The Defendant has intentionally discriminated against the Plaintiff

     in particular in violation of Title VII, 42 U.S.C. Section 2000e et seq. by

     disparate treatment of Plaintiff .

            19.    The effect of the actions complained of as aforementioned has been

            to deprive the Plaintiff of equal employment opportunities, and otherwise

            to adversely affect his status as an employee.

            20.    The unlawful employment practices complained of were intentional.

            21.     The unlawful employment practices against the Plaintiff

     were done with malice or reckless indifference to the Plaintiff’s federally

     protected rights.

            22.    As a direct and proximate result of Defendant’s unlawful

     employment practices, the Plaintiff was emotionally harmed, suffered, and will

     continue to suffer, a loss of wages and other employment benefits, a loss of

     earning capacity, damages to his professional reputation, a loss of dignity, a loss

     of the enjoyment of life, embarrassment, humiliation, and other forms of mental

     anguish and distress.

            Wherefore, Plaintiff requests this Court issue an order against Defendant

     awarding the Plaintiff compensatory damages, lost back pay, and/or front pay,

     attorney’s fees and costs, together with such other relief as this Court deems just

     and proper.
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                                                COUNT II

                     DEFENDANTS HAVE VIOLATED TITLE VII
                        (HOSTILE WORK ENVIRONMENT)

            23.    Plaintiff adopts and realleges paragraphs 1-14 above as if

     incorporated herein.

            24.     Plaintiff is a member of a protected class because of his

     national origin and race.

            25.    The Defendant is an employer that employs over 50 people, and is

            subject to 42 U.S.C. Section 2000e et seq.

            26.   That the Plaintiff as a result Defendants conduct as set forth in

     the above paragraphs, Defendant treated Plaintiff

     with a hostile work environment in the terms and conditions

     of his employment due to his national origin and race.

            27.   The Defendant has intentionally discriminated against the Plaintiff

     in particular in violation of Title VII, 42 U.S.C. Section 2000e et seq. by

     hostile work environment against the Plaintiff.

            28.   The effect of the actions complained of as aforementioned has been

     to deprive the Plaintiff of equal employment opportunities, and otherwise to

     adversely affect his status as employee.

            29.   The unlawful employment practices complained of were intentional.

            30.    The unlawful employment practices against the Plaintiff

     were done with malice or reckless indifference to the Plaintiff’s federally

     protected rights.
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            31.   As a direct and proximate result of Defendant’s unlawful

     employment practices, the Plaintiff was emotionally harmed, suffered, and will

     continue to suffer, a loss of wages and other employment benefits, a loss of

     earning capacity, damages to his professional reputation, a loss of dignity, a loss

     of the enjoyment of life, embarrassment, humiliation, and other forms of mental

     anguish and distress.

            Wherefore, Plaintiff requests this Court issue an order against Defendants

     awarding the Plaintiff compensatory, lost back pay, and/or front pay, attorney’s

     fees and costs, together with such other relief as this Court deems just and

     proper.



                                        COUNT III

                     DISCRIMINATION IN VIOLATION OF THE
                            FLORIDA CIVIL RIGHTS ACT

                                 (DISPARATE TREATMENT)

            32.    Plaintiff adopts and realleges paragraphs 1-14 above as if

     incorporated herein.

            33.   Defendant discriminated against Plaintiff because of his national

     origin and race, in violation of the FCRA.

            34.   That the Plaintiff

     treated Plaintiff with disparate treatment in the terms and conditions

     of his employment.

            35.   The Defendant has intentionally discriminated against the Plaintiff

     in particular in violation of FCRA by
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     disparate treatment of Plaintiff .

               36.   The effect of the actions complained of as aforementioned has been

               to deprive the Plaintiff of equal employment opportunities, and otherwise

               to adversely affect his status as previous employee.

               37.   The unlawful employment practices complained of were intentional.

               38.    The unlawful employment practices against the Plaintiff

     were done with malice or reckless indifference to the Plaintiff’s state protected

     rights.

               39.   As a direct and proximate result of Defendant’s unlawful

     employment practices, the Plaintiff was emotionally harmed, suffered, and will

     continue to suffer, a loss of wages and other employment benefits, a loss of

     earning capacity, damages to his professional reputation, a loss of dignity, a loss

     of the enjoyment of life, embarrassment, humiliation, and other forms of mental

     anguish and distress.

               Wherefore, Plaintiff requests this Court issue an order against Defendant

     awarding the Plaintiff compensatory damages, lost back pay, and/or front pay,

     attorney’s fees and costs, together with such other relief as this Court deems just

     and proper.




                                             Count	IV	

           42 U.S.C. SECTION 1981-EQUAL RIGHTS UNDER THE LAW

               40.    Plaintiff adopts and realleges paragraphs 1-14 above as if

     incorporated herein.
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            41.       Defendant discriminated against the Plaintiff because of his race as

     Black in violation of 42 U.S.C. Section, by creating, tolerating and fostering a race

     hostile and abusive work environment. 1981 “ protects individuals from

     discrimination based Race in making and enforcing contracts, participating in

     lawsuits, and giving evidence.” The Plaintiff were subject to numerous breaches

     of his employment due to his race and in violation of 1981 by Defendant failing to

     treat Plaintiff without discriminatory basis.

             42.      That his comparators were not treated like the Plaintiff as described in 1-

     14 paragraphs.

            43.       The Plaintiff was not provided the same terms, conditions and privileges

     as their Caucasian and Hispanic comparators.

             44.      The Defendant has intentionally discriminated against Plaintiff

     in violation of 1981 by disparate treatment of Plaintiff, and violation of his

     protected rights as defined under 1981 based upon his race.

             45.      The effect of the actions complained of as aforementioned has been

             to deprive the

     Plaintiff of equal employment opportunities, and otherwise to adversely affect

     his status as employee because of his race.

             46.      The unlawful employment practices complained of were

             intentional.

             47.      The unlawful employment practices against the Plaintiff was done

     with malice or reckless indifference to the Plaintiff’s federally protected rights.

            48.       As a direct and proximate result of Defendant’s unlawful
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     employment practices, the Plaintiff was emotionally harmed, suffered, and will

     continue to suffer, a loss of wages and other employment benefits, a loss of

     earning capacity, damages to their professional reputation, a loss of dignity, a loss

     of the enjoyment of life, embarrassment, humiliation, and other forms of mental

     anguish and distress.

            Wherefore, Plaintiff requests this Court issue an order against Defendant

     awarding the Plaintiff compensatory damages, lost back pay, front pay, ,

     attorney’s fees and costs, together with such other relief as this Court deems just

     and proper.



                                   DEMAND FOR TRIAL BY JURY


            Pursuant to Fed. R. Civ. P. 38(b), Plaintiff hereby demand a trial by jury

     on all issues triable of rights by a jury.

                                                      Respectfully submitted,

                                                      Discrimination Law Center, P.A.
                                                      2255 Glades Road, Suite 324A
                                                      Boca Raton, Florida 33431
                                                      (561) 271-1769 tel.


                                                      By: /s/Jay F. Romano
                                                          Jay F. Romano
                                                          Trial Attorney
                                                          Florida Bar No.: 0934097
